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(b) any co-conspirators; and (c) any governmental entities who purchased such drugs during the
Class Period.

596. The Class Period is January 1, 1991 to the present.

597. The Class consists of numerous individuals and entities throughout the United
States, making individual joinder impractical, in satisfaction of Rule 23(a) (1). The disposition
of the claims of the Class Members in a single class action will provide substantial benefits to all
parties and to the Court.

598. The claims of the representative Plaintiffs are typical of the claims of the Class, as
required by Rule 23(2) (3), m that the representative Plaintiffs include people and entities who,
like all Class Members, purchased the AWPIDs at inflated prices based on AWPs. Such
representative Plaintiffs, like all Class Members, have been damaged by Defendants’ misconduct
because, among other things, they paid prices for these drugs that were higher than they would
have been but for Defendants’ improper actions and have had medical providers make pharmacy
decisions based on economic factors as opposed to purely medical factors.

599. The Class representatives for the Classes are all of the plaintiffs.

600. The factual and legal bases of each Defendant’s misconduct are common to the
Class Members and represent a common thread of fraud and other misconduct resulting in injury
to Plaintiffs and members of the Class.

601. There are many questions of law and fact common to Plaintiffs and the Class, and
those questions predominate over any questions that may affect individual Class Members,
within the meaning of and fulfilling Rules 23(a) (2) and 23(b) (3). Common questions of law
and fact include, but are not limited to, the following:

a. Whether Defendants engaged in a fraudulent and/or deceptive scheme of
improperly inflating the AWPs for the Drugs identified in Appendix A used by Plaintiffs and

Class Members as the basis for reimbursement;

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b. Whether Defendants artificially inflated the AWPs for these drugs;

c. Whether it was the policy and practice of Defendants to prepare marketing
and sales materials that contained comparisons of the published AWPs and the spreads available;

d. Whether Defendants provided free samples of the AWPIDs to providers,
and whether Defendants instructed them to bill Plaintiffs and the Class for those free samples;

e. Whether Defendants’ provision of free samples to providers, with the
intent that the providers bill Plaintiffs and the Class for the free samples, was unlawful,

£ Whether Defendants paid financial inducements to providers and other
intermediaries, with the effect of lowering their costs for AWPIDs;

g. Whether Defendants engaged in a pattern and practice of paying illegal
kickbacks, disguised as free goods, rebates, consulting fees, junkets and education grants to
providers and other intermediaries;

h. Whether AWPs are used as a benchmark for negotiating payments by
Third-Party Payors for the AWPIDs;

i. Whether Defendants engaged in a pattern and practice that caused
Plaintiffs and Class Members to make mflated payments for the AWPIDs;.

j. Whether Defendants engaged in a pattern of deceptive and/or fraudulent
activity intended to defraud Plaintiffs and the Class members;

k. Whether Defendants formed enterprises for the purpose of carrying out the
AWP Scheme; .

1. Whether Defendants used the U.S. mails and interstate wire facilities to
carry out the AWP Scheme;

mL. Whether Defendants’ conduct violated RICO;

nh Whether Defendants are liable to Plaintiffs and the Class members for

damages for conduct actionable under the various state consumer protection statutes.

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602. Plaintiffs will fairly and adequately represent and protect the interests of the
Class, as required by Rule 23(a)(4). Plaintiffs have retained counsel with substantial experience
in prosecuting nationwide consumer class actions. Plaintiffs and their counsel are committed to
vigorously prosecuting this action on behalf of the Class, and have the financial resources to do
so. Neither Plaintiffs nor their counsel have any interest adverse to those of the Class.

603. Plaintiffs and members of the Class have all suffered, and will continue to suffer,
harm and damages as a result of Defendants’ unlawful and wrongful conduct. A class action is
superior to other available methods for the fair and efficient adjudication of this controversy
under Rule 23(b)(3}. Absent a class action, most members of the Class likely would find the cost
of litigating their claims to be prohibitive, and will have no effective remedy at Jaw. The class
treatment of common questions of law and fact is also superior to multiple individual actions or
piecemeal litigation in that it conserves the resources of the Courts and the litigants, and
promotes consistency and efficiency of adjudication. Additionally, Defendants have acted and
failed to act on grounds generally applicable to Plaintiffs and the Class and require Court
imposition of uniform relief to ensure compatible standards of conduct toward the Class, thereby
making appropriate equitable relief to the Class as a whole within the meaning of Rules 23(b)(1)
and (b){2).

IX. CLASS ACTION ALLEGATIONS FOR THE TOGETHER CARD SCHEME

604. Plaintiffs bring this actiori pursuant to Rule 23 of the Federal Rules of Civil

Procedure, on behalf of themselves and two classes (“‘the Classes”):

The Nationwide End Payor Together Card Class:

All person or entities in the United States and its territories wha
paid any portion of the purchase price for, or who reimbursed any
portion of the purchase price of, a drug covered by the Together
Rx Program on the basis, in whole or in part, on the published
average wholesale price during the time period January I, 2002
up to and including the present.

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605. In the event the Court nules that plaintiffs do not have standing under the antitrust
laws, an alternate class to that set forth above is:

ihe Indirect Purchaser States End Pavor Tazether Card Class:

All persons or entities in the indirect purchaser states who paid
any portion of the purchase price for, or who reimbursed any
portion of the purchase price of, a drug covered by the Together
Rx Program on the basis, in whole or in part, on the published
average wholesale price during the time period January I, 2002
up to and including the present.
Excluded from the Classes are (a) each Defendant and any entity in which any Defendant has a
controlling interest, and their legal representatives, officers, directors, assignees and successors;
(b) any co-conspirators; and (c) any governmental entities who purchased such drugs during the
Class Period.
606. The Class representatives for the Nationwide End Payor Together Card Class are
all of the plaintiffs, excluding the association plaintiffs.
607. The Class representatives for the Indirect Purchaser States End Payor Together
Card Class are all plaintiffs, excluding the association plaintiffs.
608. Each of the Class Representatives purchased the Together Card Drugs identified
herein.
609. The Class Period is January 1, 2002 to the present.
610. The Classes consist of numerous individuals and entities throughout the United
States, making individual joinder impractical, in satisfaction of Rule 23(a)(1). The disposition of
the claims of the Class Members in a single class action will provide substantial benefits to all
parties and to the Court.
611. The claims of the representative Plaintiffs are typical of the claims of the Classes,
as required by Rule 23{a)(3), in that the representative Plaintiffs include people and entities who,
like all Class Members, purchased the Together Card Drugs in, our outside of, the Together Card

Program. Such representative Plaintiffs, like all Class Members, have been damaged by

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Defendants’ misconduct because, among other things, they paid prices for the Together Card
Drugs that were higher than they would have been but for Defendants’ improper actions.

612. The factual and legal bases of each Defendant’s misconduct are common to the
Class Members and represent a common thread of conspiracy and other misconduct resulting in
injury to Plaintiffs and member of the Classes.

613. There are many questions of law and fact common to Plaintiffs and the Classes,
and those questions predominate over any questions that may affect individual Class Members,
within the meaning of and fulfilling Rules 23(a)(2) and 23(b)(3). Common questions of law and
fact melude, but are not limited to, the following:

(a) Whether Defendants engaged in a combination or conspiracy to raise, fix,
stabilize and maintain the AWP spreads for the Together Card Drugs;

(b) The duration and extent of the combination or conspiracy alleged herein;

(<) Whether Defendants, and each of them, was a participant in the
combination or conspiracy alleged herein;

(d} Whether the alleged combination and conspiracy violated Section 1 of the
Sherman Act;

(e) Whether the alleged combination and conspiracy violated the antitrust
statutes of the Indirect Purchaser States;

( Whether the Together Card Defendants engaged in a pattern and practice
that caused Plaintiffs and Together Card Class Members to make inflated payments for the
Together Card Drugs;

(g) | Whether the Together Card Defendants formed an enterprise for the
purpose of carrying out their conspiracy and agreement;

(h) Whether the Together Card Defendants used the U.S. mails and interstate

wire facilities to carry out their conspiracy and agreement; and

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(i) Whether the Together Card Defendants’ conduct violated RICO; and
WD Whether Defendants engaged in a pattern and practice that caused
Plaintiffs and Class Members to make inflated payments for the Together Card Drugs.

614. Plamtiffs will fairly and adequately represent and protect the interests of the
Classes, as required by Rule 23{a)(4). Plaintiffs have retained counsel with substantial
experience in prosecuting nationwide consumer class actions. Plaintiffs and their counsel are
committed to vigorously prosecuting this action on behalf of the Classes, and have the financial
resources to do so. Neither Plaintiffs nor their counsel have any interest adverse to those of the
Classes.

615. Plaintiffs and members of the Classes have all suffered, and will continue to
suffer, harm and damages as a result of Defendants’ unlawful and wrongful conduct. A class
action is superior to other available methods for the fair and efficient adjudication of this
controversy under Rule 23(b)(3). Absent a class action, most members of the Classes likely
would find the cost of litigating their claims to be prohibitive, and will have no effective remedy
at law. The class treatment of common questions of law and fact is also superior to multiple
individual] actions or piecemeal litigation in that it conserves the resources of the Courts and the
litigants, and promotes consistency and efficiency of adjudication.

616. The Nationwide Enrollees Class and the Nationwide End Payor Together Card
Class have both suffered antitrust injury within the meaning of federal antitrust laws and have
standing to sue for damages under Section 1 of the Sherman Act and Section IV of the Clayton
Act. The Together Card Class Representatives and the National Together Card Enrollee Class
are persons who have suffered injury to business or property by reason of a violation of Section 1
of the Sherman Act. Similarly, the End Payor Class Representatives and the Nationwide End
Payor Together Card Class are persons who have suffered injury to business or property by

reason of a violation of Section 1 of the Sherman Act. Members of each of the Nationwide

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Classes are consumers or business entities that have standing to seek a Section IV Clayton Act
remedy reflecting the increase in the purchase price or reimbursement rate for applicable drugs
that is attributable to the price fixing conspiracy of the Defendants.

617. Members of the two Nationwide Classes are the directly injured persons. The
conspiracy alleged herein is a conspiracy to effectuate over-reimbursement or end payor
purchase cost in relation to actual transaction cost through intermediaries in the drug distribution
channels. The conspiracy alleged here is mof that initial actual prices to those in the distribution
chain but passed on and eventually imposed upon consumers and other end payors; the opposite
is alleged here. Here, the conspiracy alleged is that the end payor reimbursement for purchase
price benchmark was secretly and unlawfully inflated, thereby enabling over reimbursement and
over payments to all of those in the distribution chain, including retail pharmacies, mail order
companies, PBMs and manufacturers. None of those in the distribution chain actually pay the
cost imposed by the reimbursement fix alleged herein. The first and only party to bear this cost
are the end payors, be they uninsured consumers, health plans or insurance companies.

618. This case poses no likelihood of duplicative recovery. The conspiracy alleged
does not even theoretically present potential damage to mtermediaries in the retail or mail order
drug distribution channels. Instead, only one level of injured persons is alleged here — the end
payors for applicable drugs whose purchases were made, in whole or in part, on the basis of the

published average wholesale price for the applicable drugs.

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COUNT FE}
VIOLATIONS OF 18 U.S.C. § 1962(C)
(AGAINST DEFENDANT DRUG MANUFACTURERS IDENTIFIED
HEREIN FOR UNLAWFUL CONDUCT ASSOCIATED WITH
MEDICARE PART B COVERED DRUGS)

619. Plaintiffs, on behalf of themselves and alt others similarly situated, reallege and
incorporate herein by reference each of the allegations contained in the preceding paragraphs of
this Amended Complaint.

620. This Count, which alleges violations of Section 1962(c) of RICO, 18 U.S.C.

§ 1962(c), is asserted against the Defendant Dmg Manufacturers on behalf of the AWP Payor
class.

621. Plaintiffs, the members of Classes, and the Defendant Drug Manufacturers are
each “persons,” as that term is defined in 18 U.S.C. § 1961(3).

622. The following publishers of pharmaceutical industry compendia that periodically
publish the AWPs, both in printed and electronic media, for various dosages of drugs are each
“persons,” as that term is defined in 18 U.S.C. § 1961(3): (a) Thomson Medical Economics
(“Thomson Medical”) is a division of Thomson Corporation, a Delaware corporation with its
principal place of business located at One Station Place, Stamford, Connecticut, and it is the
publisher of the Drug Topics Red Book (the “Red Book”); (b) First DataBank, Inc., (“First
DataBank”) a Missouri corporation, with its principal place of business at 1111 Bayhull Drive,
San Bruno, California, and it is the publisher of drug pricing information including, but not
limited to, American Druggist First Databank Annual Directory of Pharmaceuticals and
Essential Directory of Pharmaceuticals, commonly referred to as the Blue Book; (c) and Facts &

Comparisons, Inc., (“Facts & Comparisons”) a division of Lippincott Williams & Wilkins, Inc.,

" This Amended Complaint does not contain certain material struck or dismissed by the Court in its May 13,
2003 Memorandum and Order. For instance, many association plaintiffs and several RICO counts that were
included in the MCC have not been included in this amended complaint in order to reduce the volume of an already
lengthy pleading. However, plaintiffs incorporate by this reference, into this Complaint, material struck or
dismissed by the Court in order to, if necessary, preserve appellate rights, Plaintiffs acknowledge that these
allegations would be dismissed if reasserted.

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@ Pennsylvania corporation which acquired all drug information reference products formerly
published by Medi-Span, Inc. and which currently makes available drug pricing information,
including, but not limited to, the Medi-Span Master Drug Data Base. These entities are
sometimes collectively referred to herein as “the Publishers.”

623. Atall relevant times, in violation of 18 U.S.C. § 1962(c), the Defendant Drug
Manufacturers conducted the affairs of certain association-in-fact enterprises identified herein,
the affairs of which affected interstate commerce through a pattern of racketeering activity.

The Mannufacturer-Publisher Enterprises

624. For purposes of this claim, certain RICO “enterprises” are associations-in-fact
consisting of (a) one of the Publishers that reported AWPs for AWPIDs, and (b) a Defendant
Drug Manufacturer, including its directors, employees and agents. These associations-in-fact are
sometimes collectively referred to herein as the “Manufacturer-Publisher Enterprises.” Each of
the Manufacturer-Publisher Enterprises is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the common
or shared purposes of (a) publishing or otherwise disseminating pharmaceutical price
information, which all too often includes disseminating false and misleading AWPs, (b) selling,
purchasing, and administering AWPIDs to Plaintiffs and Class members, and (c) deriving profits
from these activities. Each of the enterprises had a common purpose of perpetuating use of
’ AWPs as a benchmark for reimbursement in the pharmaceutical industry, generally, and
specifically for the drugs of that defendant. The manufacturing defendants have this as a purpose
because without the AWP scheme, they would not be able to push the spread. The publishers
agree to this scheme, because if they did not, the manufacturers could easily revert to the other
methods of publishing prices or the publishers would have to independently investigate the AWP
at significant expense. The Publishers also have an economic incentive to merely report the

AWPs provided to them by the manufacturers, because to do otherwise would require the

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Publishers to spend money to extensively survey actual sales prices in the market. By simply
republishmg what is submitted to them by the drug manufacturers, the Publishers save on
expenses and consequently reap greater profits. Thus, each of the Manufacturer-Publisher
Enterprises has a common purpose of perpetuating the use of AWPs as a benchmark for
reimbursement in the pharmaceutical industry.

625. Each of the Manufacturer-Publisher Enterprises has a systemic linkage because
there are contractual relationships, financial ties, and continuing coordination of activities
between the Defendant Drug Manufacturer and the specific Publisher that are its associates. As
to each of the Manufacturer-Publisher Enterprises, there is a common communication network
by which the Defendant Drug Manufacturer and the specific Publisher share information on a
regular basis. Typically this communication occurs by use of the wires and mails in which a
manufacturer will instruct a publisher to list a certain AWP. As to each of the Manufacturer-
Publisher Enterprises, the Defendant Drug Manufacturer and the specific Publisher functioned as
a continuing unit. At all relevant times, each of the Manufacturer-Publisher Enterprises was
operated by the specific Defendant Drug Manufacturer for criminal purposes, namely, carrying
out the AWP Scheme.

626. At all relevant times, each one of the Publishers was aware of the Defendants
Drug Manufacturers’ AWP Scheme, was a knowing and willing participant in that scheme, and
reaped profits from that scheme. Each of the publishing manufacturers is aware that the
published AWPs are inflated. This awareness comes from the following sources: First, at some
point prior to 1992 the publishers in many instances obtained AWPs themselves by survey.
From their surveys of those in the distribution chain, they were and are aware that the reported
AWPs were not accurate. Second, as various congressional bodies and government agencies
teported on AWP inflation, the Publishers did not change or challenge the self-reported AWPs,
but continued blindly accepting the requested AWPs. Third, when the State of Texas began

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prosecuting Dey for its AWP practices, and when other states began focusing on Dey, the
Publishers stopped accepting Dey’s reported AWPs and published a different, far lower AWP.
They withdraw from the Dey enterprise due to fear that they would be sued if they continued to
publish Dey’s false AWPs. This prompted a lawsuit by Dey alleging that the Publishers were
treating Dey differently than they were treating all other manufacturers. In other words, Dey was
complaining of the others being allowed to continue the scheme while it could not.

627. The foregoing evidences the Publishers willing participation in the enterprise;
their common purpose in the AWP scheme; and their agreement to 2 structure wherein the
manufacturers made decisions as to what AWPs would be reported. This structure was the basis
in which each of the enterprises was structured and its affairs conducted. The only exception
occurred when the Publishers, fearing litigation, refused to accept Dey’s instructions. The
Publishers were willing participants in the scheme because if the truth were revealed the entire
AWP reporting system would collapse.

628. For purposes of this count, the Manufacturer-Publisher Enterprises are identified
as follows:

(a) The Abbott Manufacturer-Publisher Enterprises: The Abbott
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
Abbott, and Abbott, including its directors, employees and agents: (1) the Abbott-
Thomson Medical Enterprise; (2) the Abbott-First DataBank Enterprise; and (3) the
Abbott-Facts & Comparisons Enterprise. Each of the Abbott Manufacturer-Publisher
Enterprises is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or shared
purposes of (a) publishing or otherwise disseminating false and misleading AWPs,

(b) selling, purchasing, and administering AWPIDs to individual Plaintiffs and Class

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members and to participants in those Plaintiffs and Class members that comprise health
and welfare plans, and (c) deriving profits from these activities. Each of the Abbott
Manufacturer-Publisher Enterprises has a systemic linkage because there are contractual
relationships, financial ties, and continuing coordination of activities between Abbott and
Thomsen Medical, Abbott and First DataBank, and Abbott and Facts & Comparisons.
As to each of these Abbott Manufacturer-Publisher Enterprises, there is a common
communication network by which Abbott and Thomson Medical, Abbott and First Data
Bank, and Abbott and Facts & Comparisons share information on a regular basis. As to
each of these Abboti-Manufacturer-Publisher Enterprises, Abbott and Thomson Medical,
Abbott and First Data Bank, and Abbott and Facts & Comparisons functioned as
continuing but separate units. At all relevant times, each of the Abbott Manufacturer-
Publisher Enterprises was operated and conducted by Abbott for criminal purposes,
namely, carrying out the AWP Scheme.

(b) The Amgen Manufacturer-Publisher Enterprises: The Amgen
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
Amgen, and Amgen, including its directors, employees and agents: (1) the Amgen-
Thomson Medical Enterprise; (2) the Amgen-First DataBank Enterprise; and (3) the
‘Amgen-Facts & Comparisons Enterprise. Each of the Amgen Manufacturer-Publisher -
Enterprises is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or shared
purposes of (a} publishing or otherwise disseminating false and misleading AWPs,

(b) selling, purchasing, and administering AWPIDs to individual Plaintiffs and Class
members and to participants in those Plaintiffs and Class members that comprise health

and welfare plans, and (c) deriving profits from these activities. Each of the Amgen

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Manufacturer-Publisher Enterprises has a systemic linkage because there are contractual
relationships, financial ties, and continuing coordination of activities between Amgen and
Thomson Medical, Abbott and First DataBank, and Abbott and Facts & Comparisons.

As to each of these Amgen Manufacturer-Publisher Enterprises, there is a common
communication network by which Amgen and Thomson Medical, Amgen and First Data
Bank, and Amgen and Facts & Comparisons share information on a regular basis. As to
each of these Amgen-Manufacturer-Publisher Enterprises, Amgen and Thomson Medical,
Amgen and First Data Bank, and Amgen and Facts & Comparisons functioned as
continuing but separate units. At all relevant times, each of the Amgen Manufacturer-
Publisher Enterprises was operated and conducted by Amgen for criminal purposes,
namely, carrying out the AWP Scheme.

{c) The AstraZeneca Manufacturer-Publisher Enterprises: The AstraZeneca
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
AstraZeneca, and AstraZeneca, including its directors, employees and agents: (1) the
AstraZeneca -Thomson Medical Enterprise; (2) the AstraZeneca -First DataBank
Enterprise, and (3) the AstraZeneca -Facts & Comparisons Enterprise. Each of the
AstraZeneca Manufacturer-Publisher Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of (a) publishing or otherwise
disseminating false and misleading AWPs, (b) selling, purchasing, and administering
AWPIDs to individual Plaintiffs and Class members and to participants in those Plaintiffs
and Class members that comprise health and welfare plans, and (c) deriving profits from
these activities. Each of the AstraZeneca Manufacturer-Publisher Enterprises has a

systemic linkage because there are contractual relationships, financial ties, and continuing

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coordination of activities between AstraZeneca and Thomson Medical, AstraZeneca and
First DataBank, and AstraZeneca and Facts & Comparisons. As to each of these
AstraZeneca Manufacturer-Publisher Enterprises, there is a common communication
network by which AstraZeneca and Thomson Medical, AstraZeneca and First Data Bank,
and AstraZeneca and Facts & Comparisons share information on a regular basis. As to
each of these AstraZeneca -Manufacturer-Publisher Enterprises, AstraZeneca and
Thomson Medical, AstraZeneca and First Data Bank, and AstraZeneca and Facts &
Comparisons functioned as continuing but separate units. At all relevant times, each of
the AstraZeneca Manufacturer-Publisher Enterprises was operated and conducted by
AstraZeneca for criminal purposes, namely, carrying out the AWP Scheme.

{d) The Aventis Group Manufacturer-Publisher Enterprise: The Aventis
Group Manufacturer-Publisher Enterprises are three separate associations-in-fact
consisting af each of the Publishers that reported the AWPID AWPs that were provided
to them by Aventis Group, and Aventis Group, including its directors, employees and
agents: (1) the Aventis Group -Thomson Medical Enterprise; (2) the Aventis Group-First
DataBank Enterprise; and (3) the Aventis Group-Facts & Comparisons Enterprise. Each
of the Aventis Group Manufacturer-Publisher Enterprises is an ongoing and contiguing
business organization consisting of both corporations and individuals that are and have
been associated for the common or shared purposes of (a) publishing or otherwise
disserninating false and misleading AWPs, (b) selling, purchasing, and administering
AWPIDs to individual Plaintiffs and Class members and to participants in those Plaintiffs
and Class members that comprise health and welfare plans, and (c) deriving profits from
these activities. Each of the Aventis Group Manufacturer-Publisher Enterprises has a
systemic linkage because there are contractual relationships, financial ties, and continuing

coordination of activities between Aventis Group and Thomson Medical, Aventis Group

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and First DataBank, and Aventis Group and Facts & Comparisons. As to each of these
Aventis Group Manufacturer-Publisher Enterprises, there is a common communication
network by which Aventis Group and Thomson Medical, Aventis Group and First Data
Bank, and Aventis Group and Facts & Comparisons share information on a regular basis.
As to each of these Aventis Group-Manufacturer-Publisher Enterprises, Aventis Group
and Thomson Medical, Aventis Group and First Data Bank, and Aventis Group and Facts
& Comparisons functioned as continuing but separate units. At all relevant times, each of
the Aventis Group Manufacturer-Publisher Enterprises was operated and conducted by
Aventis Group for criminal purposes, namely, carrying out the AWP Scheme.

(e) The Baxter Manufacturer-Publisher Enterprises: The Baxter
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID A WPs that were provided to them by
Baxter, and Baxter, including its directors, employees and agents: (1) the Baxter-
Thomson Medical Enterprise; (2) the Baxter-First DataBank Enterprise; and (3) the
Baxter Facts & Comparisons Enterprise. Each of the Baxter Manufacturer-Publisher
Enterprises is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or shared
purposes of (2) publishing or otherwise disseminating false and misleading AWPs,

(b) selling, purchasing, and administering AWPIDs to individual Plaintiffs and Class 1
members and to participants in those Plaintiffs and Class 1 members that comprise health
and welfare plans, and (c) deriving profits from these activities. Each of the Baxter
Manufacturer-Publisher Enterprises has a systemic linkage because there are contractual
relationships, financial ties, and continuing coordination of activities between Baxter and
Thomson Medical, Baxter and First DataBank, and Baxter and Facts & Comparisons. As

to each of these Baxter Manufacturer-Publisher Enterprises, there is a common

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communication network by which Baxter and Thomson Medical, Baxter and First Data
Bank, and Baxter and Facts & Comparisons share information on a regular basis. As to
each of these Baxter-Manufacturer-Publisher Enterprises, Baxter and Thomson Medical,
Baxter and First Data Bank, and Baxter and Facts & Comparisons functioned as
continuing but separate units. At all relevant times, each of the Baxter Manufacturer-
Publisher Enterprises was operated and conducted by Baxter for criminal purposes,
namely, carrying out the AWP Scheme.
(f) The Bayer Manufacturer-Publisher Enterprises: The Bayer
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
Bayer, and Bayer, including its directors, employees and agents: (1) the Bayer-Thomson
Medical Enterprise; (2) the Bayer-First DataBank Enterprise; and (3) the Bayer-Facts &
Comparisons Enterprise. Each of the Bayer Manufacturer-Publisher Enterprises is an
ongoing and continuing business organization consisting of both corporations and
_ individuals that are and have been associated for the common or shared purposes of

(a) publishing or otherwise disseminating false and misleading AWPs, (b) selling,

purchasing, and administering AWPIDs to individual Plaintiffs and Class members and to

participants in those Plaintiffs and Class members that comprise health and welfare plans,
and (c) deriving profits from these activities. Each of the Bayer Manufacturer-Publisher
Enterprises has a systemic linkage because there are contractual relationships, financial
ties, and continuing coordination of activities between Bayer and Thomson Medical,
Bayer and First DataBank, and Bayer and Facts & Comparisons. As to each of these
Bayer Manufacturer-Publisher Enterprises, there is a common communication network
by which Bayer and Thomson Medical, Bayer and First Data Bank, and Bayer and Facts

& Comparisons share information on a regular basis. As te each of these Bayer

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Manufacturer-Pubhisher Enterprises, Bayer and Thomson Medical, Bayer and First Data
Bank, and Bayer and Facts & Comparisons functioned as continuing but separate units.
At all relevant times, each of the Bayer Manufacturer-Publisher Enterprises was operated
and conducted by Bayer for criminal purposes, namely, carrying out the AWP Scheme.
{g) The Boehringer Group Manujacturer-Publisher Enterprises: The
Boehringer Group Manufacturer-Publisher Enterprises are three separate associations-in-
fact consisting of each of the Publishers that reported the AWPID AWPs that were
provided to them by Boehringer Group, and Boehringer Group, including its directors,
employees and agents: (1) the Boehringer Group-Thomson Medical Enterprise; (2) the
Boehringer Group-First DataBank Enterprise; and (3) the Boehringer Group-Facts &
Comparisons Enterprise. Each of the Boehringer Group Manufacturer-Publisher
Enterprises is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or shared
purposes of (a) publishing or otherwise disseminating false and misleading AWPs,
(b) selling, purchasing, and administering AWPIDs to individual Plaintiffs and Class
members and to participants in those Plaintiffs and Class members that comprise health
and weifare plans, and (c) deriving profits from these activities. Each of the Boehringer
Group Manufacturer-Publisher Enterprises has a systemic linkage because there are
contractual relationships, financial ties, and continuing coordination of activities between -
Boehringer Group and Thomson Medical, Boehringer Group and First DataBank, and
Boehringer Group and Facts & Comparisons. As to each of these Boehringer Group
Manufacturer-Publisher Enterprises, there is a common communication network by
which Boehringer Group and Thomson Medical, Boehringer Group and First Data Bank,
and Boehringer Group and Facts & Comparisons share information on a regular basis.
As to each of these Boehringer Group Manufacturer-Publisher Enterprises, Boehringer

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Group and Thomson Medical, Boehringer Group and First Data Bank, and Boehringer
Group and Facts & Comparisons functioned as continuing but separate units. At all
relevant times, each of the Boehringer Group Manufacturer-Publisher Enterprises was
operated and conducted by Boehringer Group for criminal purposes, namely, carrying out
the AWP Scheme.

(h) The Braun Manufacturer-Publisher Enterprises: The Braun
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
Braun, and Braun, including its directors, employees and agents: (1) the Braun-Thomson
Medical Enterprise; (2) the Braun-First DataBank Enterprise; and (3) the Braun-Facts &
Comparisons Enterprise. Each of the Braun Manufacturer-Publisher Enterprises is an
ongoing and continuing business organization consisting of both corporations and
individuals that are and have been associated for the common or shared purposes of (a)
publishing or otherwise disseminating false and misleading AWPs, (b) selling,
purchasing, and administering AWPIDs to individual Plaintiffs and Class members and to
participants in those Plaintiffs and Class members that comprise health and welfare plans,
and (c) deriving profits from these activities. Each of the Braun Manufacturer-Publisher
Enterprises has a systemic linkage because there are contractual relationships, financial
ties, and continuing coordination of activities between Braun and Thomson Medical,
Braun and First DataBank, and Braun and Facts & Comparisons. As to each of these
Braun Manufacturer-Publisher Enterprises, there is a common communication network
by which Braun and Thomson Medical, Braun and First Data Bank, and Braun. and Facts
& Comparisons share information on a reguiar basis. As to each of these Braun
Manufacturer-Publisher Enterprises, Braun and Thomson Medical, Braun and First Data

Bank, and Braun and Facts & Comparisons functioned as continuing but separate units.

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At all relevant times, each of the Braun Manufacturer-Publisher Enterprises was operated
and conducted by Braun for criminal purposes, namely, carrying out the AWP Scheme.
iy) The BMS Group Manufacturer-Publisher Enterprises: The BMS Group
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
BMS Group, and BMS Group, including its directors, eraployees and agents: (}) the
BMS Group-Thomson Medical Enterprise; (2) the BMS Group-First DataBank
Enterprise; and (3) the BMS Group-Facts & Comparisons Enterprise. Each of the BMS
Group Manufacturer-Publisher Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of (a) publishing or otherwise
disseminating false and misleading AWPs, (b) selling, purchasing, and administering
AWPIDs to individual Plaintiffs and Class members and to participants in those Plaintiffs
and Class members that comprise health and welfare plans, and (c) deriving profits from
these activities. Each of the BMS Group Manufacturer-Publisher Enterprises has a
systemic linkage because there are contractual relationships, financial ties, and continuing
coordination of activities between BMS Group and Thomson Medical, BMS Group and
First DataBank, and BMS Group and Facts & Comparisons. As to each of these BMS
Group Manufacturer-Publisher Enterprises, there is a common communication network
by which BMS Group and Thomson Medical, BMS Group and First Data Bank, and
BMS Group and Facts & Comparisons share information on a regular basis. As to each
of these BMS Group Manufacturer-Publisher Enterprises, BMS Group and Thomson
Medical, BMS Group and First Data Bank, and BMS Group and Facts & Comparisons

functioned as continuing but separate units. At all relevant times, each of the BMS

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Group Mannfacturer-Publisher Enterprises was operated and conducted by BMS Group
for criminal purposes, namely, carrying out the AWP Scheme.

() The Dey Manufacturer-Publisher Enterprises: The Dey Manufacturer-
Publisher Enterprises are three separate associations-in-fact consisting of cach of the
Publishers that reported the AWPID AWPs that were provided to them by Dey, and Dey,
including its directors, employees and agents: (1) the Dey-Thomson Medical Enterprise;
(2) the Dey-First DataBank Enterprise; and (3) the Dey-Facts & Comparisons Enterprise.
Each of the Dey Manufacturer-Publisher Enterprises is an ongoing and continuing
business organization consisting of both corporations and individuals that are and have
been associated for the common or shared purposes of (a) publishing or otherwise
disseminating false and misleading AWPs, (b) selling, purchasing, and administering
AWPIDs to individual Plaintiffs and Class members and to participants in those Plaintiffs
and Class members that comprise health and welfare plans, and (c) deriving profits from
these activities. Each of the Dey Manufacturer-Publisher Enterprises has a systemic
linkage because there are contractual relationships, financial ties, and continuing
coordination of activities between Dey and Thomson Medical, Dey and First DataBank,
and Dey and Facts & Comparisons. As to each of these Dey Manufacturer-Publisher
Enterprises, there is a common communication network by which Dey and Thomson
Medical, Dey and First Data Bank, and Dey and Facts & Comparisons share information
on a regular basis. As to each of these Dey Manufacturer-Publisher Enterprises, Dey and
Thomson Medical, Dey and First Data Bank, and Dey and Facts & Comparisons
functioned as continuing but separate units. At all relevant times, each of the Dey
Manufacturer-Publisher Enterprises was operated and conducted by Dey for criminal

purposes, namely, carrying out the AWP Scheme.

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(k) The Fujisawa Group Manufacturer-Publisher Enterprises: The Fujisawa
Group Manufacturer-Publisher Enterprises are three separate associations~in-fact
consisting of each of the Publishers that reported the AWPID AWPs that were provided
to them by Fujisawa Group, and Fujisawa Group, including its directors, employees and
agents: (1) the Fujisawa Group-Thomson Medical Enterprise; (2) the Fujisawa Group-
First DataBank Enterprise; and (3) the Fujisawa Group-Facts & Comparisons Enterprise.
Each of the Fujisawa Group Manufacturer-Publisher Enterprises is an ongoing and
continuing business organization consisting of both corporations and individuals that are
and have been associated for the common or shared purposes of (a) publishing or
otherwise dissemimating false and misleading AWPs, (b) selling, purchasing, and
administering AWPIDs to individual Plaintiffs and Class members and to participants in
those Plaintiffs and Class members that comprise health and welfare plans, and
(c) deriving profits from these activities. Each of the Fujisawa Group Manufacturer-
Publisher Enterprises has a systemic linkage because there are contractual relationships,
financial ties, and continumg coordination of activities between Fujisawa Group and
Thomson Medical, Fujisawa Group and First DataBank, and Fujisawa Group and Facts &
Comparisons. As to each of these Fujisawa Group Manufacturer-Publisher Enterprises,
there is a common communication network by which Fujisawa Group and Thomson
Medical, Fujisawa Group and First Data Bank, and Fujisawa Group and Facts &
Comparisons share information on a regular basis. As to each of these Fujisawa Group
Manufacturer-Publisher Enterprises, Fujisawa Group and Thomson Medical, Fujisawa
Group and First Data Bank, and Fujisawa Group and Facts & Comparisons functioned as
continuing but separate units. At all relevant times, each of the Fujisawa Group
Manufacturer-Publisher Enterprises was operated and conducted by Dey for criminal

purposes, namely, carrymg out the AWP Scheme.

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a The GSK Group Manufacturer-Publisher Enterprises: The GSK Group
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
GSK Group, and GSK. Group, including its directors, employees and agents: (1) the GSK
Group-Thomson Medical Enterprise; (2) the GSK Group-First DataBank Enterprise; and
(3) the GSK. Group-Facts & Comparisons Enterprise. Each of the GSK Group
Manufacturer-Publisher Enterprises is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the
common or shared purposes of (a) publishing or otherwise disseminating false and
misleading AWPs, (b) selling, purchasing, and administering AWPIDs to individual
Plaintiffs and Class members and to participants in those Plaintiffs and Class members
that comprise health and welfare plans, and (c) deriving profits from these activities.
Each of the GSK Group Manufacturer-Publisher Enterprises has a systemic linkage
because there are contractual relationships, financial ties, and continuing coordination of
activities between GSK. Group and Thomson Medical, GSK Group and First DataBank,
and GSK Group and Facts & Comparisons. As to each of these GSK Group
Manufacturer-Publisher Enterprises, there is a common communication network by
which GSK Group and Thomson Medical, GSK Group and First Data Bank, and GSK
Group and Facts & Comparisons share information on a regular basis. As to each of
these GSK Group Manufacturer-Publisher Enterprises, GSK Group and Thomson
Medical, GSK Group and First Data Bank, and GSK Group and Facts & Comparisons
functioned as continuing but separate units. At all relevant times, each of the GSK Group
Manufacturer-Publisher Enterprises was operated and conducted by GSK Group for

criminal purposes, namely, carrying out the AWP Scheme.

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(m) The Hoffman-La Roche Manufacturer-Publisher Enterprises: The
Hoffman-La Roche Group Manufacturer-Publisher Enterprises are three separate
associations-in-fact consisting of each of the Publishers that reported the AWPID AWPs
that were provided to them by Hoffman-La Roche, and Hoffman-La Roche, including its
directors, employees and agents: (1) the Hoffman-La Roche-Thomson Medical
Enterprise; (2) the Hoffman-La Roche-First DataBank Enterprise; and (3) the Hoffman-
La Roche-Facts & Comparisons Enterprise. Each of the Hoffman-La Roche
Manufacturer-Publisher Enterprises is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the
common or shared purposes of (a) publishing or otherwise disseminating false and
misleading AWPs, (b) selling, purchasing, and administering AWPIDs to individual
Plaintiffs and Class members and to participants in those Plaintiffs and Class members
that comprise health and welfare plans, and (c) deriving profits from these activities.
Each of the Hoffman-La Roche Group Manufacturer-Publisher Enterprises has a systemic
linkage because there are contractual relationships, financial ties, and continuing
coordination of activities between Hoffman-La Roche and Thomson Medical, Hoffman-
La Roche and First DataBank, and Hoffman-La Roche and Facts & Comparisons. As to
each of these Hoffman-La Roche Manufacturer-Publisher Enterprises, there is a common
communication network by which Hoffman-La Roche and Thomson Medical, Hoffman- -
La Roche and First Data Bank, and Hoffman-La Roche and Facts & Comparisons share
information on a regular basis. As to each of these Hoffman-La Roche Manufacturer-
Publisher Enterprises, Hoffman-La Reche and Thomson Medical, Hoffman-La Roche
and First Data Bank, and Hoffman-La Roche and Facts & Comparisons functioned as

continuing but separate units. At all relevant times, each of the Hoffman-La Roche

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Manufacturer-Publisher Enterprises was operated and conducted by Hoffman-La Roche
for criminal purposes, namely, carrying out the AWP Scheme.

fn) The Immunex Manufacturer- Publisher Enterprises: The Immunex
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
immunex, and Immunex, including its directors, employees and agents: (1) the
immunex-La Roche-Thomson Medical Enterprise; (2) the Inmunex-First DataBank
Enterprise; and (3) the Immunex-Facts & Comparisons Enterprise. Each of the Immunex
Manufacturer-Publisher Enterprises is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the
common or shared purposes of (a) publishing or otherwise disseminating false and
misleading AWPs, (b) selling, purchasing, and administering AWPIDs to individual
Plaintiffs and Class members and to participants in those Plaintiffs and Class members
that comprise health and welfare plans, and (c) deriving profits from these activities.
Each of the Immunex Manufacturer-Publisher Enterprises has a systemic linkage because
there are contractual relationships, financial ties, and continuing coordination of activities
between Immunex and Thomson Medical, Immunex and First DataBank, and Immunex
and Facts & Comparisons. As to each of these Immunex Manufacturer-Publisher
Enterprises, there is a common communication network by which Immunex and
Thomson Medical, Immunex and First Data Bank, and Immunex and Facts &
Comparisons share information on a regular basis. As to each of these Immunex
Manufacturer-Publisher Enterprises, lmmunex and Thomson Medical, Immunex and First
Data Bank, and Immunex and Facts & Comparisons functioned as continuing but

separate units. At ali relevant times, each of the Immunex Manufacturer-Publisher

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Enterprises was operated and conducted by Immumnex for criminal purposes, namely,
carrying out the AWP Scheme.

(9) The Johnson & Johnson Group Manufacturer-Publisher Enterprise: The
Johnson & Johnson Group Manufacturer-Publisher Enterprises are three separate
associations-in-fact consisting of each of the Publishers that reported the AWPID AWPs
that were provided to them by Johnson & Johnson Group, and Johnson & Johnson Group,
including its directors, employees and agents: (1) the Johnson & Johnson Group-La
Roche-Thomson Medical Enterprise; (2) the Johnson & Johnson Group-First DataBank
Enterprise; and (3) the Johnson & Johnson Group-Facts & Comparisons Enterprise. Each
of the Johnson & Johnson Group Manufacturer-Publisher Enterprises is an ongoing and
continuing business organization consisting of both corporations and individuals that are
and have been associated for the common or shared purposes of (a2) publishing or
otherwise disseminating false and misleading AWPs, (b) selling, purchasing, and
administering AWPIDs to individual Plaintiffs and Class members and to participants in
those Plaintiffs and Class members that comprise health and welfare plans, and (c)
deriving profits from these activities. Each of the Johnson & Johnson Group
Manufacturer-Publisher Enterprises has a systemic linkage because there are contractual
relationships, financial ties, and continuing coordination of activities between Johnson &
Johnson Group and Thomson Medical, Johnson & Johnson Group and First DataBank,
and Johnson & Johnson Group and Facts & Comparisons. As to each of these Johnson &
Johnson Group Manufacturer-Publisher Enterprises, there is a common communication
network by which Johnsen & Johnson Group and Thomson Medical, Johnson & Johnson
Group and First Data Bank, and Johnson & Johnson Group and Facts & Comparisons
share information on a regular basis. As to each of these Johnson & Johnson Group

Manufacturer-Publisher Enterprises, Johnson & Johnson Group and Thomson Medical,

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Johnson & Johnson Group and First Data Bank, and Johnson & Johnson Group and Facts
& Comparisons functioned as continuing but separate units. At all relevant times, each of
the Johnson & Johnson Group Manufacturer-Publisher Enterprises was operated and
conducted by Johnson & Johnson Group for criminal purposes, namely, carrying out the
AWP Scheme.

@) The Pfizer Manufacturer-Publisher Enterprises: The Pfizer
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
Pfizer, and Pfizer, including its directors, employees and agents: (1) the Pfizer-La
Roche-Thomson Medical Enterprise; (2) the Pfizer-First DataBank Enterprise; and (3) the
Pfizer-Facts & Comparisons Enterprise. Each of the Pfizer Manufacturer-Publisher
Enterprises is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or shared
purposes of (a) publishing or otherwise disseminating false and misleading AWPs,

(b) selling, purchasing, and administering AWPIDs to mdividual Plaintiffs and Class
members and to participants in those Plaintiffs and Class members that comprise health
and welfare plans, and (c) deriving profits from these activities. Each of the Pfizer
Manufacturer-Publisher Enterprises has a systemic linkage because there are contractual
relationships, financial ties, and continuing coordination of activities between Pfizer and
Thomson Medical, Pfizer and First DataBank, and Pfizer and Facts & Comparisons. As
to cach of these Pfizer Manufacturer-Publisher Enterprises, there is a common
communication network by which Pfizer and Thomson Medical, Pfizer and First Data
Bank, and Pfizer and Facts & Comparisons share information on a regular basis. As to
each of these Pfizer Manufacturer-Publisher Enterprises, Pfizer and Thomson Medical,

Pfizer and First Data Bank, and Pfizer and Facts & Comparisons functioned as continuing

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but separate units. At all relevant times, each of the Pfizer Manufacturer-Publisher
Enterprises was operated and conducted by Pfizer for criminal purposes, namely,
carrying out the AWP Scheme.

(q) The Pharmacia Group Manufacturer-Publisher Enterprises: The
Pharmacia Group Manufacturer-Publisher Enterprises are three separate associations-in-
fact consisting of each of the Publishers that reported the AWPID AWPs that were
provided to them by Pharmacia Group, and Pharmacia Group, including its directors,
employees and agents: (1) the Pharmacia Group-Thomson Medical Enterprise; (2) the
Pharmacia Group-First DataBank Enterprise; and (3) the Pharmacia Group-Facts &
Comparisons Enterprise. Each of the Pharmacia Group Manufacturer-Publisher
Enterprises is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or shared
purposes of (a) publishing or otherwise disseminating false and misleading AWPs,

(b) selling, purchasing, and administering AWPIDs to individual Plaintiffs and Class
members and to participants im those Plaintiffs and Class members that comprise health
and welfare plans, and (c) deriving profits from these activities. Each of the Pharmacia
Group Manufacturer-Publisher Enterprises has a systemic linkage because there are
contractual relationships, financial ties, and continuing coordination of activities between
Pharmacia Group and Thomson Medical, Pharmacia Group and First DataBank, and
Pharmacia Group and Facts & Comparisons. As to each of these Pharmacia Group
Manufacturer-Publisher Enterprises, there is a common communication network by
which Pharmacia Group and Thomson Medical, Pharmacia Group and First Data Bank,
and Pharmacia Group and Facts & Comparisons share information on a regular basis. As
to each of these Pharmacia Group Manufacturer-Publisher Enterprises, Pharmacia Group

and Thomson Medical, Pharmacia Group and First Data Bank, and Pharmacia Group and

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Facts & Comparisons functioned as continuing but separate units. At all relevant times,
each of the Pharmacia Group Manufacturer-Publisher Enterprises was operated and
conducted by Pharmacia Group for criminal purposes, namely, carrying out the AWP
Scheme.

(r) The Schering-Plough Group Manufacturer-Publisher Enterprises: The
Schering-Plough Group Manufacturer-Publisher Enterprises are three separate
associations-in-fact consisting of each of the Publishers that reported the AWPID AWPs
that were provided to them by Schering-Plough Group, and Schering-Plough Group,
including its directors, employees and agents: (1) the Schermg-Plough Group-Thomson
Medical Enterprise; (2) the Schering-Plough Group-First DataBank Enterprise; and
(3) the Schering-Plough Group-Facts & Comparisons Enterprise. Each of the Schering-
Plough Group Manufacturer-Publisher Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of (a) publishing or otherwise
disseminating false and misleading AWPs, (b) selling, purchasing, and administering
AWPIDs to individual Plaintiffs and Class members and to participants in those Plaintiffs
and Class members that comprise health and welfare plans, and (c) deriving profits from
these activities. Each of the Schering-Plough Group Manufacturer-Publisher Enterprises
has a systemic linkage because there are contractual relationships, financial ties, and -
continuing coordination of activities between Schering-Plough Group and Thomson
Medical, Schering-Plough Group and First DataBank, and Schering-Plough Group and
Facts & Comparisons. As to each of these Schering-Plough Group Manufacturer-
Publisher Enterprises, there is a common communication network by which Schering-
Piough Group and Thomson Medical, Schering-Plough Group and First Data Bank, and

Schering-Plough Group and Facts & Comparisons share information on a regular basis.

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As to each of these Schering-Plough Group Manufacturer-Publisher Enterprises,
Schering-Plough Group and Thomson Medical, Schering-Plough Group and First Data
Bank, and Schering-Plough Group and Facts & Comparisons functioned as continuing
but separate units. At all relevant times, each of the Schering-Plough Group
Manufacturer-Publisher Enterprises was operated and conducted by Schering-Plough
Group for criminal purposes, namely, carrying out the AWP Scheme.

(s) The Sicor Group Manufacturer-Publisher Enterprises: The Sicor Group
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
Sicor Group, and Sicor Group, including its directors, employees and agents: (1) the
Sicor Group-Thomson Medical Enterprise; (2) the Sicor Group-First DataBank
Enterprise; and (3) the Sicor Group-Facts & Comparisons Enterprise. Each of the Sicor
Group Manufacturer-Publisher Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of (2) publishing or otherwise
disseminating false and misleading AWPs, (b) selling, purchasing, and administering
AWPIDs to individual Plaintiffs and Class members and to participants in those Plaintiffs
and Class members that comprise health and welfare plans, and (c) deriving profits from
these activities. Each of the Sicor Group Manufacturer-Publisher Enterprises has a
systemic linkage because there are contractual relationships, financial ties, and continuing
coordination of activities between Sicor Group and Thomson Medical, Sicor Group and
First DataBank, and Sicor Group and Facts & Comparisons. As to each of these Sicor
Group Manufacturer-Publisher Enterprises, there is a common communication network
by which Sicor Group and Thomson Medical, Sicor Group and First Data Bank, and

Sicor Group and Facts & Comparisons share information on a regular basis. As to each

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of these Sicor Group Manufacturer-Publisher Enterprises, Sicor Group and Thorason
Medical, Sicor Group and First Data Bank, and Sicor Group and Facts & Comparisons
functioned as continuing but separate units. At all relevant times, each of the Sicor
Group Manufacturer-Publisher Enterprises was operated and conducted by Sicor Group
for criminal purposes, namely, carrying out the AWP Scheme.

(t) The TAP Group Manufacturer-Publisher Enterprises: The TAP Group
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
The TAP Group, and The TAP Group, including its directors, employees and agents:

(1) the TAP Group-Thomson Medical Enterprise; (2) the TAP Group-First DataBank
Enterprise; and (3) the TAP Group-Facts & Comparisons Enterprise. Each of the TAP
Group Manufacturer-Publisher Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of (a) publishing or otherwise
disseminating false and misleading AWPs, (b) selling, purchasing, and administering
AWPIDs to individual Plaintiffs and Class members and to participants in those Plaintiffs
and Class members that comprise health and welfare plans, and (c) deriving profits from
these activities. Each of the TAP Group Manufacturer-Publisher Enterprises has a
systemic linkage because there are contractual relationships, financial ties, and continuing
coordination of activities between the TAP Group and Thomson Medical, the TAP Group
and First DataBank, and the TAP Group and Facts & Comparisons. As to each of these
TAP Group Manufacturer-Publisher Enterprises, there is a common communication
network by which the TAP Group and Thomson Medical, the TAP Group and First Data
Bank, and the TAP Group and Facts & Comparisons share information on a regular basis.
As to each of these TAP Group Manufacturer-Publisher Enterprises, the TAP Group and

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Thomson Medical, the TAP Group and First Data Bank, and the TAP Group and Facis &
Comparisons functioned as continuing but separate units. At all relevant times, each of
the TAP Group Manufacturer-Publisher Enterprises was operated and conducted by the
TAP Group for criminal purposes, namely, carrying out the AWP Scheme.

(u) The Watson Manufacturer-Publisher Enterprises: The Watson
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
Watson, and Watson, cluding its directors, employees and agents: (1) the Watson-
Thomson Medical Enterprise; (2) the Watson-First DataBank Enterprise; and (3) the
Watson-Facts & Comparisons Enterprise. Each of the Watson Manufacturer-Publisher
Enterprises is an ongoing and continuing business organization consisting of both
corporations and indtviduals that are and have been associated for the common or shared
purposes of (a) publishing or otherwise disseminating false and misleading AWPs,

{b) selling, purchasing, and administering AWPIDs to individual Plaintiffs and Class
members and to participants im those Plaintiffs and Class members that comprise health
and welfare plans, and (c) deriving profits from these activities. Each of the Watson
Manufacturer-Publisher Enterprises has a systemic linkage because there are contractual
relationships, financial ties, and continuing coordination of activities between Watson
and Thomson Medical, Watson and First DataBank, and Watson and Facts &
Comparisons. As to each of these Watson Manufacturer-Publisher Enterprises, there is a
common communication network by which Watson and Thomson Medical, Watson and
First Data Bank, and Watson and Facts & Comparisons share information on a regular
basis. As to each of these Watson Manufacturer-Publisher Enterprises, Watson and
Thomson Medical, Watson and First Data Bank, and Watson and Facts & Comparisons

functioned as continuing but separate units. At all relevant times, cach of the Watson

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Manufacturer-Publisher Enterprises was operated and conducted by Watson for criminal
purposes, namely, carrying out the AWP Scheme.

(v) The Warrick Manufacturer-Publisher Enterprises: The Warrick
Manufacturer-Publisher Enterprises are three separate associations-in-fact consisting of
each of the Publishers that reported the AWPID AWPs that were provided to them by
Warrick, and Warrick, including its directors, employees and agents: (1) the Warrick-
Thomson Medical Enterprise; (2) the Warrick-First DataBank Enterprise; and (3) the
Warrick-Facts & Comparisons Enterprise. Each of the Warrick Manufacturer-Publisher
Enterprises is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or shared
purposes of (a) publishing or otherwise disseminating false and misleading AWPs,

(b) selling, purchasing, and administering AWPIDs to individual Plaintiffs and Class
members and to participants im those Plaintiffs and Class members that comprise health
and welfare plans, and (c) deriving profits from these activities. Each of the Warrick
Manufacturer-Publisher Enterprises has a systernic linkage because there are contractual
relationships, financial ties, and continuing coordination of activities between Warrick
and Thomson Medical, Warrick and First DataBank, and Warrick and Facts &
Comparisons. As to each of these Warrick Manufacturer-Publisher Enterprises, there is a
common communication network by which Warrick and Thomson Medical, Warrick and
First Data Bank, and Warrick and Facts & Comparisons share information on a regular
basis. As to each of these Warrick Manufacturer-Publisher Enterprises, Warrick and
Thomson Medical, Warrick and First Data Bank, and Warrick and Facts & Comparisons
functioned as continuing but separate units. At all relevant times, each of the Warrick
Manufacturer-Publisher Enterprises was operated and conducted by Warrick for criminal

purposes, namely, carrying out the AWP Scheme.

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The Defendant Drug Manufacturers’ Use of the U.S. Mails and Interstate
Wire Facilities

629. Each of the Manufacturer-Publisher Enterprises engaged in and affected interstate
commerce because they engage in the following activities across state boundaries: The
transmission and publication of false and misleading information concerning AWPs; the sale,
purchase and/or administration of AWPIDs; and/or the transmission and/or receipt of sales and
marketing literature; and/or the transmission and/or receipt of invoices, statements and payments
related to the use or administration of AWPIDs.

630. During the Class Period, the Defendants Drug Mamufacturers’ illegal conduct and
wrongful practices were carried out by an array of employees, working across state boundaries,
who necessarily relied upon frequent transfers of documents and information, products and funds
by the U.S. mails and interstate wire facilities.

631. The nature and pervasiveness of the Defendant Drug Manufacturers’ AWP
Scheme, which was orchestrated out of the corporate headquarters of the Defendant Drug
Manufacturers, necessarily required those headquarters to communicate directly and frequently
by the U.S. mails and by interstate wire facilities with the various local district managers
overseeing the sales force(s), the numerous pharmaceutical sales representatives who, in turn,
directly communicated with providers and employees who communicated with the Publishers.

632. Many ofthe precise dates of Defendant Drug Manufacturers’ uses of the U.S.
mails and interstate wire facilities (and corresponding RICO predicate acts of mail and wire
fraud) have been hidden and cannot be alleged without access to these Defendants’ books and
records. Indeed, an essential part of the successful operation of the AWP Scheme alleged herein
depended upon secrecy, and as alleged above, the Defendant Drug Manufacturers took deliberate
steps to conceal their wrongdoing. However, Plaintiffs can generally describe the occasions on
which the RICO predicate acts of mail fraud and wire fraud occurred, and how those acts were in

furtherance of the AWP Scheme and do so below.

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633. The Defendant Drug Manufacturers’ use of the U.S. mails and interstate wire
facilities to perpetrate the AWP Scheme involved thousands of communications throughout the
Class Period inchiding, inter alia:

(a) Marketing materials about the AWPs for AWPIDs and the available
spread, which were sent by the Defendant Drug Manufacturers to health care providers
located across the country;

(b) Written representations of the AWPs made by the Defendant Drug
Manufacturers to the Publishers, which were made at least annually and in many cases
several times during a single year;

(c} Documents providing information or incentives designed to lessen the
prices that health care providers paid for AWPIDs and/or to conceal those prices or the
AWP Scheme alleged here;

(d) Whitten communications, relating to rebates, kickbacks, or other financial
inducements included, but not limited to, checks, as detailed herein;

(e) Written and oral communications directed to U.S. Government agencies
and private insurers that fraudulently misrepresented what the AWPs were, or that were
intended to deter investigations into the true nature of the AWPs or to forestall changes to
remibursement based on something other than AWPs;

(f} Written and oral communications with health insurers and patients,
including Plaintiffs and members of the Class, inducing payments for the drugs that were
made in reliance on AWPs; and

(2) Receipts of money sent on tens of thousands of occasions through the U.S,
mails and interstate wire facilities — the wrongful proceeds of the Defendant Drug

Manufacturers” AWP Scheme.

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(h) Inaddition to the above-referenced RICO predicate acts, it was
foreseeable to the Defendant Drug Manufacturers that the Publishers would distribute
their publications containing false AWPs through the U.S. mails and by interstate wire
facilities. Further, the Defendant Drug Manufacturers’ corporate headquarters have, in
furtherance of the AWP Scheme, communicated through use of the U.S. mails and by
interstate wire facilities with their various local headquarters or divisions. These uses of
the U.S. mails include some of the documents referenced in this Amended Complaint.
Conduct of the RICO Enterprises’ Affairs
634. During the Class Period, the Defendant Drug Manufacturers have exerted control

over their Manufacturer-Publisher Enterprises and, in violation of Section 1962(c) of RICO, the
Defendant Drug Manufacturers have conducted or participated in the conduct of the affairs of
those RICO enterprises, directly or indirectly, in the following ways:

(a) Each of the Defendant Drug Manufacturers has directly controlled the
price for its AWPIDs;

(b) = Each of the Defendant Drug Manufacturers has directly controlled the
AWPs that are reported by the Publishers:

{c) Each of the Defendant Drug Manufacturers has directly controlled the
creation and distribution of marketing, sales, and other materials used to inform health
care providers nationwide of the profit potential of its AWPIDs;

(d) Each of the Defendant Drug Manufacturers has controlled and participated
in the affairs of its Manufacturer-Publisher Enterprises by using a fraudulent scheme to
manufacture, market and sell its AWPIDs on the basis of AWPs that each of the

Defendant Drug Manufacturers provides to the Publishers:

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(e} Hach of the Defendant Drug Manufacturers intended that each of the

Publishers would (and did) distribute their publications containing false AWPs through

the U.S. mails and by interstate wire facilities; and

(f) Each of the publishers has allowed these Defendants to exert control over
their organizations knowing that the AWPs were inflated and were not real numbers.

Each publisher did so because the reporting of AWPs was, and is, a major part of its

business.

635. Each of the Manufacturer-Publisher Enterprises had a hierarchical decision-
making structure headed by the respective Defendant Drug Manufacturer. The Defendant Dmg
Manufacturers issued instructions on how its AWPs were to be reported and each publisher
accepted those instructions despite knowing of their falsity.

636. In violation of Section 1962(c) of RICO, each of the Defendant Drug
Manufacturers have conducted the affairs of each of the Manufacturer-Publisher Enterprises with
which they associated by reporting fraudulently inflated AWPs for AWPIDs that were then
published by the Publishers and disseminated nationwide.

The Defendant Drug Manufacturers’ Pattern of Racketeering Activity

637. Each of the Defendant Drug Manufacturers have conducted and participated in
the affairs of their above-referenced Manufacturer-Publisher Enterprises through a pattern of
racketeering activity, including acts that are indictable under 18 U:S.C. § 1341, relating to mail:
fraud, and 18 U.S.C. § 1343, relating to wire fraud. The Defendant Drug Manufacturers’ pattern
of racketeering likely involved thousands, if not hundreds of thousands, of separate instances of
use of the U.S. mails or interstate wire facilities in furtherance of their AWP Scheme. Each of
these fraudulent mailings and interstate wire transmissions constitutes a “racketeering activity”
within the meaning of 18 U.S.C. § 1961(1)(B). Collectively, these violations constitute a
“pattern of racketeering activity,” within the meaning of 18 U.S.C. § 1961(5), m which the

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Defendant Dmg Manufacturers intended to defraud Plaintiffs, members of the Classes and other
intended victims of the AWP Scheme.

638. The Defendants Drug Manufacturers’ fraudulent and unlawful AWP Scheme
consisted, in part, of deliberately overstating the AWPs for their AWPIDs, thereby creating a
“spread” based on the inflated figure in order to induce others to advocate and favor that
Defendant Drug Manufacturer’s AWPIDs. Further, others would bill their clients for the
Defendant Drug Manufacturers’ AWPIDs based on the inflated A WPs, which did not reflect the
true price paid for the AWPIDs.

639. The AWP Scheme was calculated and intentionally crafted to ensure that
Plaintiffs and members of the Classes would be over-billed for the drugs. In designing and
implementing the AWP Scheme, at all times the Defendant Drug Manufacturers were cognizant
of the fact that those in the distribution chain who are not part of the industry rely on the integrity
of the Defendant Drug Manufacturers in setting the AWPs, as reported by the Publishers.

640. By intentionally and artificially inflating the AWPs, and by subsequently failing
to disclose such practices to the individual patients, health plans and their insurers, the Defendant
Drug Manufacturers engaged in a fraudulent and unlawful course of conduct constituting a
pattern of racketeering activity.

641. The Defendant Drug Manufacturers’ racketeering activities amounted to a
common course of conduct, with similar pattern and purpose, intended to deceive Plaintiffs.and -
members of the Classes. Each separate use of the U.S. mails and/or interstate wire facilities
employed by the Defendant Drug Manufacturers was related, had similar intended purposes,
involved similar participants and methods of execution, and had the same results affecting the
same victims, including Plaintiffs and members of the Classes. Each of the Defendant Drug
Manufacturers has engaged im the pattern of racketeering activity for the purpose of conducting

the ongoing business affairs of its particular Manufacturer-Publisher Enterprises.

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The Defendant Drug Manufacturers’ Motive

642. The Defendant Drug Manufacturers’ motive in creating and operating the AWP
Scheme and conducting the affairs of the Manufacturer-Publisher Enterprises described herein
was to fraudulently obtain sales of and profits ftom their AWPIDs.

643. The AWP Scheme was designed to, and did, encourage others, including health
care providers, to advocate the use of the Defendant Drug Manufacturers’ AWPIDs. Thus, each
of the Defendant Drug Manufacturers used the AWP Scheme to sell more of its drugs, thereby
fraudulently gaining sales and market share and profits.

Damages Caused by the Defendant Drug Manufacturers’ AWP Scheme

644. ‘The Defendant Drug Manufacturers’ violations of federal law and their pattern of
racketeering activity have directly and proximately caused Plaintiffs and members of the Classes
to be injured in their business or property because Plaintiffs and members of the Classes have
paid many hundreds of millions of dollars in inflated reimbursements or other payments for
AWPIDs.

645. The Defendant Drug Manufacturers sent billing statements through the U.S. mails
or by interstate wire facilities and reported AWPs and other information by the same methods in
furtherance of their AWP Scheme. Plaintiffs and members of the Classes have made inflated
payments for AWPIDs based on and/or in reliance on reported and false AWPs.

646. Under the provisions of Section 1964(c) of RICO, the Defendant Drug
Manufacturers are jointly and severally liable to Plaintiffs and members of the Classes for three
times the damages that Plaintiffs and the Class members have sustained, plus the costs of

bringing this suit, including reasonable attorneys’ fees.

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~ COUNT II
VIOLATIONS OF 18 U.S.C. § 1962(C)
(AGAINST DEFENDANT DRUG MANUFACTURERS IDENTIFIED HEREIN)

647. Plaintiffs, on behalf of themselves and all others similarly situated, reallege and
incorporate herein by reference each of the allegations contained in the preceding paragraphs of
this Amended Complaint.

648. This Count, which alleges violations of Section 1962(c} of RICO, 18 U.S.C.

§ 1962(c), is asserted against the Defendant Drug Manufacturers identified below on behalf of
AWP Classes by the AWP Class representatives.

649. Plaintiffs, the members of Classes, and the Defendant Drug Manufacturers are
each “persons,” as that term is defined in 18 U.S.C. § 1961(3).

650. The following pharmacy benefit managers (collectively “PBMs”} are each
“persons,” as that term is defined in 18 U.S.C. § 1961(3): (a) AdvancePCS (“Advance PCS”), a
Delaware corporation with its principal place of business located at 750 West John Carpenter
Freeway, Suite 1200, Irving, Texas; Advance PCS is the largest PBM in the United States and
currently serves more than 75 million health plan members; (b) Caremark, Rx, Inc. (“Caremark
Rx”), a Delaware corporation with its principal place of business located at 300 Galloria Tower,
Suite 1000, Birmingham, Alabama; Caremark Rx is one of the largest pharmaceutical services
companies in the United States with net revenues of approximately $5.6 billion in 2001;

(c) Express Scripts, Inc. (“Express Scripts”), a Delaware corporation with its principal place of
business located at 13900 Riverpoint Drive, Maryland Heights, Missouri; Express Scripts is the
third largest PBM in North America; and (d) Medco Health Solutions, Inc. (“Medco Health”), a
successor-in-interest to Merck-Medco Managed Care, L.L.C., is a Delaware corporation with its
principal place of business located at 100 Parsons Pond Road, Franklin Lakes, New Jersey; since
its acquisition in 1993, Medco Health has been a wholly-owned subsidiary of Defendant Drug

Manufacturer Merck.

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